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                                      Nos. 24-6256, 24-6274

                        UNITED STATES COURT OF APPEALS
                             FOR THE NINTH CIRCUIT
                                  ____________
                                           EPIC GAMES, INC.,
                                                               Plaintiff-Appellee,

                                                    v.

                   GOOGLE LLC; GOOGLE IRELAND, LTD.; GOOGLE COMMERCE, LTD.,
                     GOOGLE ASIA PACIFIC PTE, LTD.; GOOGLE PAYMENT CORP.,
                                                           Defendants-Appellants.
                                           ________________

                            On Appeal from the United States District
                           Court for the Northern District of California
                            Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD
                                         ________________

              MOTION OF WASHINGTON LEGAL FOUNDATION FOR LEAVE
                  TO FILE BRIEF AS AMICUS CURIAE SUPPORTING
                    DEFENDANTS-APPELLANTS AND REVERSAL
                                 ________________

                                                         Cory L. Andrews
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              December 4, 2024
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                                RULE 26.1 DISCLOSURE STATEMENT

                        Washington Legal Foundation has no parent company, issues no

              stock, and no publicly held company owns a ten percent or greater

              interest in it.
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                        Washington Legal Foundation moves for leave to file the attached

              amicus brief supporting Defendants-Appellants and reversal.

                        Counsel for Defendants-Appellants consent to WLF’s filing its

              amicus brief.

                        Rather than consent to WLF’s timely filing an amicus brief that

              complies fully with Fed. R. App. P. 29, Counsel for Plaintiff-Appellee

              conditioned their consent on WLF’s making additional funding

              disclosures that go well beyond those required by Fed. R. App. P.

              29(a)(4)(E). Because WLF would not accede to these extra conditions,

              Counsel for Plaintiff-Appellee “take no position” on this motion.

                        WLF is a nonprofit, public-interest law firm and policy center with

              supporters nationwide. WLF promotes free enterprise, individual rights,

              limited government, and the rule of law. It often appears as an amicus

              curiae in important antitrust cases See, e.g., Epic Games, Inc. v. Apple,

              Inc., 67 F.4th 946 (9th Cir. 2023); New York v. Meta Platforms, Inc., 66

              F.4th 288 (D.C. Cir. 2023).

                        WLF’s proposed amicus brief elaborates on two reasons why this

              Court should reverse the decision below. First, the District Court’s

              injunction imposes on Google a sweeping duty to deal with its competitors


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              that far exceeds the bounds of antitrust law. Second, bedrock antitrust

              policy considerations weigh against the District Court’s intrusive

              injunction in this case.

                        “Members of the court might find any or all of these addition[al

              arguments] helpful to deciding the appeal.” Prairie Rivers Network v.

              Dynegy Midwest Generation, LLC, 976 F.3d 761, 764 (7th Cir. 2020)

              (Scudder, J., in chambers) (granting WLF’s motion for leave to file amicus

              brief). The proposed brief provides additional discussion and citations not

              found in the parties’ briefs. These arguments and citations further

              unpack the District Court’s error and will assist the Court in resolving

              this appeal. This is a quintessential role for amicus curiae, as this Court

              has recognized. See, e.g., Miller-Wohl Co. v. Comm’r of Lab. & Indus., 694

              F.2d 203, 204 (9th Cir. 1982) (describing “the classic role of amicus curiae

              [as] assisting in a case of general public interest, supplementing the

              efforts of counsel, and drawing the court's attention to law that escaped

              consideration”).

                        WLF thus respectfully moves for leave to file the attached amicus

              brief.




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                                                       Respectfully submitted,

                                                       /s/ Cory L. Andrews
                                                       Cory L. Andrews
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              December 4, 2024


                                    CERTIFICATE OF COMPLIANCE

                        I hereby certify that this motion complies with the type-volume

              limits of Federal Rule of Appellate Procedure 27(d)(2)(A) because it

              contains 356 words excluding the parts exempted by Federal Rule of

              Appellate Procedure 32(f).

                        I also certify that this motion complies with the typeface and type-

              style requirements of Federal Rule of Appellate Procedure 27(d)(1)(E)

              because it uses 14-point Century Schoolbook font.

                                                             /s/ Cory L. Andrews
                                                             CORY L ANDREWS
              December 4, 2024




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